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®WAO 468 Rev. 186) Waiver of Preliminary Licaring

UNITED STATES DISTRICT COURT — gp 6 2005

FOR THE DISTRICT OF KANSAS
RALPH L. DeLOACH, Cler:
By puty

WAIVER OF PRELIMINARY HEARING

UNITED STATES OF AMERICA
Vv.
(Rule 5 or 32.1, Fed. R. Crim. P.)
DONNELL F.TIMLEY

CASE NUMBER: 02-40015-01-JAR

I, DONNELL T. TIMLEY_, charged ina petition pending in this District with violation of conditions
of supervised release and having appeared before this Court and been advised of my rights as required by Rule

32.1, Fed. R. Crim. P., including my right to have a preliminary hearing, do hereby waive (give up) my right to a

preliminary hearing.

JO- Sf - 205

Date Counsel for Defendant

